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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

NETROADSHOW, INC.,                          *
                                            *
               Plaintiff,                   *
                                            *     CIVIL ACTION FILE NO.
                                            *
      v.                                    *     1:23-cv-05697-ELR
                                            *
LISA CARRANDI,                              *     JURY TRIAL DEMANDED
                                            *
               Defendant.                   *
                                            *

     PLAINTIFF’S SUPPLEMENTAL MOTION FOR A PRELIMINARY
       INJUNCTION AND MEMORANDUM OF LAW IN SUPPORT

      Plaintiff, NetRoadshow, Inc., (“NetRoadshow” or “Plaintiff”), pursuant to

Federal Rule of Civil Procedure 65, hereby moves for a Preliminary Injunction and

submits the following Memorandum of Law in Support, showing the Court as

follows:

I.     INTRODUCTION AND FACTS

      NetRoadshow is an Atlanta-based company that provides an electronic

roadshow platform over the internet for major investment banking customers.

Carrandi was an employee of NetRoadshow from 2005 until 2023, beginning in the

role of Account Manager and eventually resigning as NetRoadshow’s Senior Vice

President, Strategic Accounts.
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        In 2005, Carrandi and NetRoadshow executed an Employee Agreement

(“Agreement”). A true and correct copy of the Agreement is attached to the

Complaint as Exhibit A. Per the Agreement, Carrandi agreed not to work for a

competitor for one-year post-employment and to protect in confidence the

confidential information of NetRoadshow.

        Carrandi resigned her employment with NetRoadshow, effective July 31,

2023.     Carrandi immediately began working for a competitor of NetRoadshow,

Finsight, in violation of her Agreement.

II.     ARGUMENT AND CITATION TO AUTHORITY

        A.    Standard For Granting Injunctive Relief

        In determining whether to issue a preliminary injunction, the Court must

consider whether:

        (1) [the moving party] has a substantial likelihood of success on the
        merits; (2) irreparable injury will be suffered unless the injunction
        issues; (3) the threatened injury to the movant outweighs whatever
        damage the proposed injunction may cause the opposing party; and (4)
        if issued, the injunction would not be adverse to the public interest.

Forsyth Cnty. v. U.S. Army Corps of Eng’rs, 633 F.3d 1032, 1039 (11th Cir. 2011)

(internal quotation marks omitted); see also Vital Pharms., Inc. v. Alfieri, 23 F.4th

1282, 1290-91 (11th Cir. 2022).




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      “Likelihood of success on the merits ‘is generally the most important’ factor.”

NetChoice, LLC v. Att’y Gen., Fla., 34 F.4th 1196, 1209 (11th Cir. 2022) (quoting

Gonzalez v. Gov. of Ga., 978 F.3d 1266, 1271 n.12 (11th Cir. 2020)).

      Here, all four factors weigh heavily in favor of granting injunctive relief. “A

district court has broad discretion to grant injunctive relief if the movant shows” the

above four factors. AWP, Inc. v. Henry, 522 F. Supp. 3d 1294, 1303 (N.D. Ga.

2020); Corp. of the Presiding Bishop of the Church of Jesus Christ of Latter-Day

Saints v. Statham, 243 Ga. 448, 449 (1979)).

      Carrrandi agreed in the Agreement that injunctive relief is appropriate if the

restrictive covenants in the Agreement were breached. Ex. A ¶ 7. Where, as here,

the parties agree in advance that injunctive relief is appropriate to enforce restrictive

covenants, “the parties are bound by the form of relief that they agreed to employ to

protect such right.” Focus Ent. Int’l, Inc. v. Partridge Greene, Inc., 253 Ga. App.

121, 128 (2001); see also Glob. Payments Inc. v. Green, 484 F. Supp. 3d 1372, 1383

(M.D. Ga. 2020).

             1.     NetRoadshow is Likely to Succeed on the Merits.

      NetRoadshow is likely to succeed on the merits of its causes of action based

on Carrandi’s blatant breach of contract.

      In Georgia, “the elements for a breach of contract claim . . . are the

(1) breach and the (2) resultant damages (3) to the party who has the right to complain


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about the contract being broken.” Norton v. Budget Rent A Car Sys., Inc., 307 Ga.

App. 501, 502 (2010) (internal quotation marks and citations omitted).

      The restrictive covenants in the Agreement are necessary, reasonable, and

supported by adequate consideration. The restrictions are narrowly drawn, and only

prohibit Carrandi’s work for Finsight for a one-year period. Finsight is engaged in

the “Business” as that term is defined in the Agreement and is in the “Area” as that

term is defined in the Agreement. Accordingly, Carrandi’s employment with

Finsight places her in breach of the non-competition provision.

      Further, Carrandi has retained confidential information in the form of

knowledge of NetRoadshow’s customers’ needs, customers’ finances, and

NetRoadshow’s systems, and “inevitably would use” this information when

negotiating with customers of Finsight and managing and strategizing internally at

Finsight. Glob. Payments Inc., 484 F. Supp. 3d at 1383. This is a breach of the

Agreement.

      As will be discussed below, Carrandi’s actions have caused extensive harm to

NetRoadshow and will continue to cause harm absent relief from this Court.

NetRoadshow is thus likely to prevail on its claim for breach of contract.

             2.    NetRoadshow Has Suffered and Continues to Suffer
                   Irreparable Harm Absent Injunctive Relief.

      Under Georgia law, “the loss of customers and goodwill is an irreparable

injury.” BellSouth Telecommunications, Inc. v. MCIMetro Access Transmission
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Servs., LLC, 425 F.3d 964, 970 (11th Cir. 2005); Ferrero v. Assoc. Materials Inc.,

923 F.2d 1441, 1449 (11th Cir. 1991); Kennedy v. Shave Barber Co., 348 Ga. App.

298, 308 (2018); see also Holland Ins. Grp., LLC v. Senior Life Ins. Co., 329 Ga.

App. 834, 843 (2014).

      Where the plaintiff has lost confidential information by the actions of the

defendant, the plaintiff risks immediate and irreparable injury. See Heartland

Payment Sys., LLC v. Stockwell, 446 F. Supp. 1275, 1285 (N.D. Ga. 2020); see

also Variable Annuity Life Ins. Co. v. Joiner, 454 F. Supp. 2d 1297, 1304 (S.D.

Ga. 2006); see also TMX Fin. Holdings, Inc., v. Drummond Fin. Servs., LLC, 300

Ga. 835, 839 n.9 (2017) (holding that a “trial court explicitly balanced the equities

when it found that there was a substantial threat that [plaintiff] would suffer

irreparable injury in the form of lost customers . . . if an interlocutory injunction is

not granted” (internal quotation marks and citations omitted)).

      Here, Carrandi’s actions are intended to compete directly with NetRoadshow

and take clients from NetRoadshow in violation of her contractual agreement. If

Carrandi is not enjoined, NetRoadshow faces loss of customers and loss of its

confidential information.




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      3.       The Threatened Injury to NetRoadshow Outweighs Whatever
               Damage the Injunction May Cause Defendant.

      Time and again, courts have held that where a defendant was found in clear

violation of an agreement that provided fair notice of its terms—even if issuance of

an interlocutory injunction could harm said defendant—the balance of the equities

favored enforcement of the agreement. Joiner, 454 F. Supp. 2d at 1305 (“The

[defendants] took a calculated risk . . . when they elected to violate the terms of the

Agreement rather than seek a declaratory judgment as to the validity of the

restrictive covenants.”); Stockwell, 446 F. Supp. 3d at 1286 (“[A]ny potential harm

to [defendant] ‘is the result of enforcement of a covenant not to compete to which

[he] agreed[,]’”); Green, 484 F. Supp. 3d at 1383 (“[T]he law does not permit

sympathy to rescue someone from the unfortunate consequences of the deal he

struck.”).

      Here, the balance of the equities strongly favors NetRoadshow as once

customers are lost, they may never return. Carrrandi was given fair notice of her

contractual obligations, and flagrantly violated them anyway.

      4.       The Public Interest Favors NetRoadshow’s Requested Injunctive
               Relief.

      The public interest favors the Court granting a temporary restraining order

and preliminary injunction to uphold basic notions of contractual obligations and,

here, the correlating confidentiality, even under the pre-Georgia Restrictive


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Covenant Act regime. Ferrero, 923 F.2d at 1449 (holding that the public interest

balancing between free competition and enforcing restrictive covenants “ha[d]

already been performed by the Georgia legislature when it presumed that injunctive

relief is the appropriate remedy for a violation of this type of covenant,” citing the

old O.C.G.A. § 13-8-2.1(g)(1)). See Durham v. Stand-Bv Labor of Ga., Inc., 230

Ga. 558, 563 (1973) (“[W]hen a duty has been imposed upon an employee pursuant

to contract not to disclose confidential business information upon termination of

employment, public policy is swung in favor of protecting these commercial

intangibles and of preventing unfair methods of exploiting them in breach of duty.”);

see also Rollins Protective Servs. Co. v. Palermo, 249 Ga. 138, 142 (1982)).

III.   CONCLUSION

       For all these reasons, NetRoadshow requests that the Court grant a

preliminary injunction requiring the following:

       (a) requiring Carrandi to cease use of and return any confidential
           information and other property, including documents and electronic
           copies of documents belonging to NetRoadshow; and

       (b) prohibiting Carrandi from further breaching its contract with
           NetRoadshow, including her employment with Finsight.




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Respectfully submitted, this 5th day of January 2024.

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